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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


THE LANCE AND LINDA NEIBAUER
JOINT TRUST, by and through LANCE
NEIBAUER, as trustee,                                                Case No. 6:14-cv-1192-MC

               Plaintiff,                                            ORDER

       v.

MICHAEL J. KURGAN, and individual,

            Defendant.
_____________________________

MCSHANE, Judge:

       Over two years ago, I granted plaintiff’s motion for summary judgment, awarding

plaintiff $60, 626.75 plus costs and interest resulting from defendant Michael J. Kurgan’s breach

of contract and intentional interference with plaintiff’s business relationship. Kurgan, appearing

pro se, spent the following two-and-one-half years appealing that ruling while attempting to

avoid plaintiff’s lawful attempts of obtaining discovery in aid of judgment under federal rule

69(a)(2). I previously concluded Kurgan relied on an “unreasonable insistence” that a limited

stay precluded plaintiff’s discovery requests under rule 69 and unambiguously ordered Kurgan to

respond to the requests. February 11, 2016 Order. Rather than provide any discovery or sit for a

deposition, Kurgan appealed the order compelling him to respond. The Ninth Circuit Court of

Appeals recently affirmed this Court’s summary judgment ruling and order requiring Kurgan to

comply with plaintiff’s discovery requests under rule 69. See Mandate, ECF No. 91.


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        Nearly six months ago, as Kurgan still refused to provide any responses to plaintiff’s

requests for discovery, I ordered Kurgan to show cause why the court should not find him in

contempt of the order compelling him to respond. ECF No. 75. Rather than produce documents

or agree to sit for a deposition, Kurgan raised the frivolous objection that because his assets are

held as tenants by the entirety (with his wife), the Florida Constitution allows him to refuse to

respond to the discovery requests. In addition, Kurgan brazenly seeks a protective order

preventing plaintiff from seeking any further discovery of such assets. 1

        I find, by clear and convincing evidence, that Kurgan willfully violated my February 11,

2016 order requiring him to respond to plaintiff’s attempts to obtain discovery in aid of

executing on the judgment. As noted in plaintiff’s memorandum—and Kurgan provides no law

to the contrary—the scope of discovery sought under rule 62(a)(2) is wide and Kurgan cannot

simply refuse to answer because he allegedly holds property jointly with his wife. Pl.’s Resp;

ECF No. 83 at 7-11. As noted by plaintiff, even in Florida:

        The creditor has the right to discover any assets the debtor might have that could
        be subject to levy or execution to satisfy the judgment, or assets that the debtor
        might have recently transferred. Broad discovery of a debtor’s assets is permitted
        postjudgment—the debtor’s assets, whether held individually or jointly, are
        relevant to collecting the debt owed.

Id. at 9 (quoting Regions Bank v. MDG Frank Helmerich, LLC, 118 So.3d 968, 970 (Fla. 2d

DCA 2013)).

        Whether plaintiff may successfully enforce the judgment against jointly held property is

an issue separate from whether such information is discoverable under rule 69(a)(2).

        Federal Rule of Civil Procedure 69 provides, in pertinent part: In aid of the
        judgment or execution, the judgment creditor . . . may obtain discovery from any
        person—including the judgment debtor—as provided in these rules or by the
1
 As noted below, there is now a question of whether a licensed attorney advised Kurgan to advance these
arguments.
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       procedure of the state where the court is located. The discovery contemplated by
       Rule 69(a) is a distinct phase of the litigation with a narrow focus. It is solely to
       enforce the judgment by way of the supplemental proceedings. One purpose of
       such special discovery is to identify assets that can be used to satisfy a judgment.
       Another purpose is to discovery concealed or fraudulently transferred assets.

       Generally, the scope of post-judgment discovery is broad. The judgment creditor
       must be given the freedom to make a broad inquiry to discover hidden or
       concealed assets of the judgment debtor. Further, due to its broad scope, a party is
       free to use any means of discovery allowable under the Federal Rules of Civil
       Procedure. A judgment creditor is therefore ordinarily entitled to a very thorough
       examination of a judgment debtor with respect to its assets, including discovery of
       the identity and location of any of the judgment debtor’s assets, wherever located.

Ryan Inv. Corp. v. Pedregal de Cabo San Lucas, 2009 WL 5114077 at *1 (N.D. Cal.) (internal

citations, quotations, and brackets omitted)).

       That Kurgan chooses to proceed pro se does not allow him to advance frivolous

arguments in refusing to comply with court orders. Kurgan also argues he should not be held in

contempt because he “was waiting the outcome of his non-party spouses [sic] motion for a

protective order she filed in Miami Dade County, where the Plaintiff had filed an action to

domesticate the judgment.” Def.’s Opp.; ECF No. 76 at 2. This argument is meritless. I ordered

Kurgan to respond to plaintiff’s discovery requests to him, not his spouse. So far as the court is

aware, plaintiff has not requested any discovery from Kurgan’s spouse.

       Kurgan also makes the willfully deceptive argument that he “unequivocally stated he

would be willing to sit for the deposition.” Id. This is a blatant misrepresentation of the email

chain both parties submitted as exhibits. The emails demonstrate plaintiff’s counsel’s repeated

requests throughout November 2016 for Kurgan to provide dates to sit at a deposition. In stark

contrast to “unequivocally stat[ing] he would be willing to sit for the deposition,” Kurgan simply

never responded to the emails, or even acknowledge receiving them. Plaintiff’s counsel

eventually unilaterally set a date, and Kurgan again simply did not respond. When Kurgan again

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failed to produce any discovery at all, plaintiff’s counsel had no choice but to cancel the date he

set for the deposition. Without discovery, and without Kurgan’s even assurance he would show

up at the schedule time and place, there was no choice other than to cancel the deposition.

Kurgan did all he could to avoid the deposition. Although that evidence points to a time before

my order compelling Kurgan to respond, he continued to avoid complying or sitting for a

deposition for several months after my February 2017 order.

        Only on June 20, 2017, literally on the eve of the deadline for his response to my order to

show cause, did Kurgan email plaintiff’s counsel and indicate he would sit for a deposition. ECF

No. 84-2. Even in that email, however, Kurgan indicated he would refuse to answer any

questions relating to property he held jointly with his wife. As noted above, this argument has no

merit because of the broad scope of rule 69(a)(2).

        As late as “August 11, 2017, Defendant [had] not produced any documents in response to

Plaintiff’s request for production, nor has Defendant provided a response to any of the

interrogatories that have been propounded by Plaintiff.” Henderson Decl., ECF No. 84 at ¶ 5.

The Court has grown weary of Kurgan’s gamesmanship. I previously put Kurgan on notice that

failure to comply with my orders could result in his appearance, with the assistance of the United

States Marshal if necessary, before me in Oregon. Kurgan’s continued bad faith draws that day

nearer. At this time, the proper sanction is that Kurgan is liable for all fees and costs plaintiff

incurred in bringing this motion and in seeking to obtain discovery under rule 69. Should Kurgan

continue to deny plaintiff discovery, whether by bad faith or frivolous legal arguments, he may

face further sanctions.

        On August 31, 2017, nearly two years after being served with the discovery requests, and

well over a year after I ordered Kurgan to respond, Kurgan finally sent plaintiff some responses.
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ECF No. 90 Ex. A. Only then did Kurgan raise his objections to plaintiff’s requests. Under rule

34, Kurgan had 30 days to provide specific objections to the requests. Simply ignoring the

requests is not an objection. “It is well established that a failure to object to discovery requests

within the time required constitutes a waiver of any objection.” Richmark Corp. v. Timber

Falling Consultants, 959 F.2d 1468, 1473 (9th Cir. 1992). Kurgan’s objections are over 600 days

too late in the making. They are untimely and are therefore waived. As noted above, most of

Kurgan’s objections also fail on the merits.

       Kurgan has 14 days from the date of this order to fully respond in detail to plaintiff’s

discovery requests. Those responses, like his others, will be submitted under penalty of perjury.

Within 14 days, Kurgan will also provide plaintiff with at least five dates he is available to sit for

a deposition via telephone. Kurgan’s dates must fall on week days between February 2, 2018 and

March 2, 2018. Plaintiff will then either choose one date or propose alternate dates. If there are

further disagreements regarding discovery, or Kurgan’s complete responses to discovery, I will

be available to resolve any disputes as soon as possible. The parties now have contact

information for my chambers (via Charlene Pew, my courtroom deputy at (541) 431-4105) and I

can be reached on short notice by telephone if necessary. If need be, the court will preside over

the phone deposition to make sure that any objections that Mr. Kurgan may have to a question

will be responded to immediately.

       Also pending is a motion for a protective order filed by Barry Eskanos, proceeding pro

se. ECF No. 92. Eskanos seeks to quash plaintiff’s subpoena seeking information and documents

related to Kurgan. Eskanos states he is a legal assistant to Florida attorney David S. Harris.

Eskanso goes on to state:



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           3. That Defendant MICHAEL J. KURGAN in this case is a long standing client of
           DAIVD S. HARRIS and the LAW OFFICE OF DAVID S. HARRIS for many
           years working together with Nonparty BARRY B. ESKANOS for Defendant
           MICHAEL J. KURGAN throughout said time including the present.

           4. That any documents sought by Plaintiff from non-party, BARRY B.
           ESKANOS, related to the Defendant MICHAEL J. KURGAN would be protected
           from disclosure for reasons of attorney-client privilege as well as work product
           privilege. Therefore, Nonparty BARRY B. ESKANOS objects to the subpoena
           served upon him on said grounds stated herein and BARRY B. ESKANOS seeks
           a protective order from this Court to shield him from having to produce the
           attorney-client related documents sought in Plaintiff’s subpoena.

ECF No. 92.

           Eskanos attaches a sworn declaration 2 from David Harris, a Florida licensed attorney.

Harris states Kurgan “has been a client of mine and my law office . . . since 2011 through the

present on various legal matters. Harris Decl. ¶ 3. Harris states Eskanos “has been a legal

assistant of mine and my law office” since 2010 through the present. Id. at ¶ 4. Harris concludes,

“any communications, written or otherwise, related to this case between MICHAEL J.

KURGAN and BARRY B. ESKANOS should be protected by attorney-client privilege and work

product privilege.” Id. at ¶ 5.

           Plaintiff provided an email Kurgan produced where Kurgan “blind copied” Eskanos. A

page from the California State Bar shows Barry B. Eskanos was disbarred in 1999. Harris Decl.,

Ex. B. In 2005, Eskanos was convicted in the Eastern District of California for mail fraud. Id. at

Ex. C. Plaintiff produced filings from Eskanos’s bankruptcy proceedings, pointing out

similarities to motions Kurgan filed in this matter. Id. at Ex. D-E. Plaintiff suspects Eskanos, a

disbarred attorney, is advising Kurgan in this matter and issued Eskanos a subpoena seeking

evidence of their interactions.



2
    Unlike the declaration from attorney David Harris, Eskanos’s motion to quash contains no such sworn declaration.
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       Neither Eskanos nor Harris provided a privilege log. At this point, Eskanos has not

demonstrated his communications with Kurgan are privileged. Eskanos’s bankruptcy filing does

not list the Harris firm as his employer. Harris’s statement does not indicate all correspondence

between Eskanos and Harris is privileged. Again, Harris did not provide a privilege log.

       The discovery plaintiff seeks now relates to enforcing its judgment against Kurgan. The

simple fact that Eskanos worked at a firm that advised Kurgan on various legal matters does not

mean any communications between Kurgan and Eskanos are privileged. Plaintiff provides

financial documents received from First Florida Credit Union regarding Kurgan’s application for

a car loan. Id. at Ex. F. On that application, Kurgan listed Eskanos as a “friend.” Id.

       That application contains disturbing revelations when compared to Kurgan’s responses to

plaintiff’s discovery requests. For example, Kurgan supplied a pay stub as part of the application

that covers the pay period covering the last two weeks of 2016. Id. at Ex. K. The stub lists

Michael J. Kurgan as the employee and Service Wing Healthcare, Inc. as the Employer. The pay

stub lists Kurgan’s 2016 total pay of $260,750.00, with $10,416.67 paid in the last pay period.

       However, in Kurgan’s August 2017 responses to plaintiff’s interrogatories, Kurgan states,

under penalty of perjury, that he received no compensation from, and no salary from, Service

Wing Healthcare. Id. at Ex I. In his response to plaintiff’s request for production, Kurgan states

he has no paystubs from the past two years, and no tax returns for the past four years. Id. at Ex. J.

       This case is now about Kurgan’s assets, and plaintiff is entitled to determine if Kurgan

fraudulently withheld or transferred assets to avoid enforcement of the judgment. Eskanos claims

any related information is subject to attorney-client privilege. Harris submitted a sworn

declaration that “any communications” “related to this case” between Eskanos and Kurgan

should be privileged. Again, Harris did not submit a privilege log demonstrating he, or Eskanos
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under Harris’s direction, advised Kurgan in any financial matters related to the enforcement of

this judgment.

       At this time, considering the concerning documents submitted by plaintiff, and

considering the lack of substantive evidence demonstrating a disbarred attorney advised Kurgan

in a manner where those communications would be privileged, the motion to quash is DENIED.

       These are serious allegations. This Court is concerned a bar licensed attorney potentially

advised Kurgan to submit false or misleading statements under threat of perjury in order to avoid

plaintiff’s execution of judgment. The Law Office of David S. Harris is ordered to submit

documents under seal for in camera review. In addition to producing documents, the law office

shall produce a privilege log relating to this action to enforce a judgment under rule 69(a)(2).

The firm shall provide the privilege log to Judge McShane, and to plaintiff’s attorney. The firm

shall produce any documents relating to the firm’s employment of Barry Eskanos and the

direction of his activities in regard to Kurgan in the matter before this court. If Eskanos’s

communications were directed by an attorney, they may be privileged. Considering Kurgan’s

sworn statements, this matter may be expanding past the privilege issue. The Law Office of

David S. Harris has 30 days from the date of this order to produce the documents. Email

correspondence may be sent to David_Svelund@ord.uscourts.gov. The documents shall be sent

to:

       Hon. Michael McShane
       c/o David Svelund
       Eighth Floor
       Hatfield U.S. Courthouse
       1000 S.W. Third Avenue
       Portland, OR 97204




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       Although the Law Office of David S. Harris is not a party to this action, it inserted itself

into this matter with its vague declaration supporting Eskansos’s motion to quash. I tend to agree

with plaintiff’s argument in response to Eskansos’ motion to quash:

       Mr. Eskanos’ failure to produce a privilege log is all-the-more critical under the
       particular circumstances present here, which suggest the lack of an attorney-client
       relationship. As an initial matter, Defendant has held himself out as a non-
       represented party for the duration of this litigation. Further, Mr. Eskanos’ own
       legal filings suggest his primary employment is not with Mr. Harris’ firm, nor is
       he listed as an employee of the firm on its website. Given these facts, Plaintiff has
       a very real and credible concern that communications between Defendant and Mr.
       Eskanos took place wholly independent from any involvement with or oversight
       by Mr. Harris, thus eliminating any possibility of privilege. Without a privilege
       log, Plaintiff has no way of alleviating such concerns.

       Moreover, even if Mr. Harris actually was involved in Defendant’s representation,
       the fact that Defendant provided untrue discovery responses concerning his
       income creates a reasonable suspicion that Defendant engaged Mr. Harris’
       services for the purpose of engaging in perjury and committing a fraud on the
       court. The attorney-client privilege may be lost when a client gives information to
       an attorney for the purpose of committing or furthering a crime or fraud. In re
       Grand Jury Proceedings # 5 Empaneled January 28, 2004, 401 F.3d 247, 251
       (4th Cir. 2005). When the crime or fraud in question is perjury, a party must
       allege a prima facie case of perjury in order for the crime-fraud exception to
       apply. Motely v. Marathon Oil Co., 71 F.3d 1547, 1551 (10 Cir. 1995). Before
       engaging in in camera review to determine the applicability of the crime-fraud
       exception, the Judge should require a showing of a factual basis adequate to
       support a good faith belief by a reasonable person that in camera review of the
       materials may reveal evidence to establish the claim that the crime-fraud
       exception applies. U.S. v. Zolin, 491 U.S. 554, 572 (1989).

       Defendant’s perjury here is clear. Defendant testified under oath that he does not
       currently draw a salary, that he has not received funds from any source for the
       past two years, that he does not receive compensation from any of his companies,
       and that he has not filed tax returns for the past four years. (See Exhibits I and J.)
       Of course, evidence produced by a disinterested witness in response to a subpoena
       tells a different story. Documents produced by First Florida Credit Union show
       that Defendant has been drawing a bi-weekly salary of $10,416.67 (approximately
       $270,000 per year) from one of his companies, Service Wing Healthcare, Inc.,
       and that he has been paying taxes on that income. (See Exhibit K.) Thus,
       Defendant’s testimony—which was presumably provided for the purpose of
       evading the judgment against him—is demonstrably false. At the very least, the
       evidence supports a good faith belief by a reasonable person that an in camera

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       review of the materials sought may reveal communications between Defendant
       and Mr. Eskanos related to Defendant’s untrue discovery responses to which the
       crime-fraud exception applies.

ECF No. 93 at 7-8.

       I do not take lightly an order requiring a law firm to submit documents for in camera

review. But the documents submitted in this case, along with Eskanos’s motion stating he

advised Kurgan under the direction of an attorney, are deeply troubling. While I only find

Kurgan guilty of willfully violating my order to respond to plaintiff’s requests, I hold open the

possibility for other hearings for future sanctions or hearings to determine whether Kurgan

should be found in criminal contempt or face additional sanctions.

       Due to Kurgan’s demonstrated willful contempt for orders of this Court and these

proceedings in general, along with the fact that a disbarred attorney is now attempting to quash a

subpoena based on attorney-client privilege, I am taking a more active role in these proceedings.

       Plaintiff is entitled to attorney’s fees and costs incurred in all matters related to the

motion for order to show cause Kurgan’s motion for a protective order. Kurgan’s motion for

protective order, ECF No. 77, is DENIED. Eskanos’s motion for a protective order, ECF No. 92,

is DENIED. Kurgan is granted 14 days to fully and completely respond to plaintiff’s requests as

outlined above. The parties may contact me with any problems related to ongoing discovery. The

Law Office of David S. Harris has 30 days to produce a privilege log and documents for in

camera review as outlined above.

       IT IS SO ORDERED.

       DATED this 6th day of December, 2017.

                                               ______/s/ Michael J. McShane__
                                                        Michael McShane
                                                   United States District Judge

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